     Case 2:20-mi-99999-UNA Document 240-2 Filed 12/23/20 Page 1 of 1




             UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                     GAINESVILLE DIVISION
FAIR FIGHT, INC., JOHN DOE, and
JANE DOE,
                  Plaintiffs,                 Case No. ______________

     v.
TRUE THE VOTE, CATHERINE                           [PROPOSED] ORDER
ENGELBRECHT, DEREK                                     GRANTING
SOMERVILLE, MARK DAVIS, MARK                      PLAINTIFFS’ MOTION
WILLIAMS, RON JOHNSON, JAMES                          TO PROCEED
COOPER, and JOHN DOES 1-10,                          ANONYMOUSLY
                  Defendants.


     THIS MATTER comes before the Court on Plaintiffs’ Motion to Proceed

Anonymously (the “Motion”). Having considered the Motion, and any opposition

thereto, and for good cause shown, it is hereby

     ORDERED that the Motion is GRANTED, and Plaintiffs Jane Doe and

John Doe may proceed anonymously in this matter.

     IT IS SO ORDERED.

Dated this _______ day of December, 2020.



                                _____________________________
                                The Honorable ________________
                                United States District Judge
